                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
v.                                                )      No.:   3:07-CR-51
                                                  )             (VARLAN/SHIRLEY)
JOHNNIE MARTIN,                                   )
                                                  )
               Defendant.                         )


                              MEMORANDUM AND ORDER

        This matter is before the Court on pro se defendant Johnnie Martin’s Motion for

Judgment of Acquittal [Doc. 322]; Motion for New Trial [Doc. 323]; and Supplemental

Motion for Judgment of Acquittal or, in the Alternative, for New Trial [Doc. 374]. The

government has responded in opposition to each of defendant’s motions [Docs. 335; 347;

376]. For the reasons that follow, the motions will be DENIED.

I.      BACKGROUND

        This criminal action involves a large-scale conspiracy to distribute cocaine, cocaine

base (“crack”), Ecstasy, and marijuana. The second superseding indictment [Doc. 224]

charged defendant Johnnie Martin and five co-defendants with various drug, firearm, and

money laundering violations, as well as conspiring to kill a federal witness.

        After defendant’s trial was severed from that of his remaining co-defendants, a five

day jury trial was held before the Honorable Thomas W. Phillips, United States District

Judge. After two-and-a-half days of deliberating, the jury was only able to render a partial



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verdict; specifically, the jury convicted defendant of Count Five of the superseding

indictment, that is, being a felon in possession of a firearm. During two more days of

deliberations, the jury indicated to the Court continued deadlock and notified the Court of

charges of racism within the jury. After further instruction to continue to attempt to reach

unanimity, Judge Phillips found the jury to be hopelessly deadlocked and declared a mistrial

on the remaining six counts against defendant Martin.

         After Judge Phillips recused himself from retrial of this action, the case was

reassigned to the Honorable Thomas A. Varlan [Docs. 317; 320]. Defendant now moves for

an acquittal on the partial verdict and alternatively for a new trial on Count Five. In support

of his motions, defendant argues that the evidence is insufficient to support a conviction; the

manner in which Judge Phillips allowed the jury to continue deliberations, despite initial

indications by the jury of potential deadlock, was improper; the prosecutor gave improper

“testimony” and made references to things not in evidence; and the prosecutor made

inappropriate comments during his closing argument.

II.      ANALYSIS

         As an initial matter, the Court notes that defendant’s motions are untimely. Rules

29(c) and 33 of the Federal Rules of Criminal Procedure require that any motions for a

judgment of acquittal after a jury verdict or for a new trial be filed within 7 days of a guilty

verdict. Fed. R. Crim. P. 29(c)(1) (“A defendant may move for a judgment of acquittal, or

renew such a motion, within 7 days after a guilty verdict or after the court discharges the

jury, whichever is later.”); Fed. R. Crim. P. 33(b)(2) (“Any motion for a new trial grounded

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on any reason other than newly discovered evidence must be filed within 7 days after the

verdict or finding of guilty.”). Defendant was convicted of Count Five on March 6, 2008,

and the jury was discharged on March 10, 2008. Thus, defendant’s Motion for New Trial

was due on or before March 20, 2008, and defendant’s Motion for Judgment of Acquittal was

due on or before March 24, 2008. See Fed. R. Crim. P. 45(a). Defendant’s pro se motions

were filed on March 25, 2008. [See Docs. 322; 323.]

       In a similar case to the one sub judice, involving in part motions filed under Rules

29(c) and 33 by a pro se criminal defendant, the Sixth Circuit held, “For a district court to

have jurisdiction over a motion under Rule 29 or 33, the movant must comply with the seven-

day period of the Rules.” United States v. Emuegbunam, 268 F.3d 377, 397 (6th Cir. 2001).

This is in compliance with the strict construction of Rules 29 and 33 mandated by the

Supreme Court. Id. The time period may only be extended by the court within that seven-

day period, not afterward, absent a showing of excusable neglect. Id.; see also Fed. R. Crim.

Pro. 45(b) (stating that the court may extend the time “before the originally prescribed or

previously extended time expires” or “after the time expires if the party failed to act because

of excusable neglect”). The Emuegbunam court was clear that a defendant’s pro se

representation does not insulate him from the strict application of this seven-day time period.

268 F.3d at 397-98. The court stated that the date of filing a motion under Rules 29 and 33

is the date the motion is actually filed with the court, not the date upon which a prisoner gives

the motion to prison officials for forwarding to the clerk’s office as is true in habeas appeals.

Id. Consequently, as defendant neither moved for an extension of time within the seven-day

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period following his conviction nor demonstrated to the Court any basis for excusable

neglect, the Court must deny defendant’s Motion for New Trial as untimely. However, even

were this court to entertain the substance of defendant’s motions and supplement, as

discussed below, the motions would fail as being without merit.

       A.     Motion for Judgment of Acquittal

       Rule 29(c) of the Federal Rules of Criminal Procedure governs a motion for a

judgment of acquittal following a jury verdict or discharge. That rule provides, “If the jury

has returned a guilty verdict, the court may set aside the verdict and enter an acquittal.” Fed.

R. Crim. Pro. 29(c)(2). When reviewing a criminal defendant’s motion for a judgment of

acquittal, the court “must determine ‘whether, after viewing the evidence in the light most

favorable to the prosecution, any rational trier of fact could have found the essential elements

of the crime beyond a reasonable doubt.’” United States v. Humphrey, 279 F.3d 372, 378

(6th Cir. 2002) (quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979)); accord, e.g., United

States v. Sawyers, 409 F.3d 732, 735 (6th Cir. 2005); United States v. Talley, 164 F.3d 989,

996 (6th Cir. 1999). This standard applies equally to circumstantial and direct evidence.

Humphrey, 279 F.3d at 378. Indeed, “[c]ircumstantial evidence alone, if substantial and

competent, may support a verdict and need not remove every reasonable hypothesis except

that of guilt.” Id. (quoting United States v. Talley, 194 F.3d 758, 765 (6th Cir. 1999)

(companion case to Talley, 164 F.3d 989)).

       To convict defendant of being a felon in possession of a firearm, the jury had to find

each of the following elements beyond a reasonable doubt: (1) that defendant was previously

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convicted of a crime punishable by a term of imprisonment exceeding one year, (2) that

defendant knowingly possessed the firearm, and (3) that the firearm had traveled in interstate

commerce. Sawyers, 409 F.3d at 735. Construing the evidence in the light most favorable

to the prosecution, a rational trier of fact could find all three elements beyond a reasonable

doubt.

         First, the first and third elements were not seriously disputed, as defendant stipulated

to his prior felony conviction and testimony demonstrated that the firearm was manufactured

outside of the state of Tennessee. Second, a rational trier of fact could find, based on the

evidence presented by the government, that defendant knowingly was in possession of the

firearm. The Sixth Circuit continues to rely on the explanation of possession articulated in

United States v. Craven:

         Possession may be either actual or constructive and it need not be exclusive but may
         be joint. Actual possession exists when a tangible object is in the immediate
         possession or control of the party. Constructive possession exists when a person does
         not have actual possession but instead knowingly has the power and the intention at
         a given time to exercise dominion and control over an object, either directly or
         through others. Both actual possession and constructive possession may be proved by
         direct or circumstantial evidence. It is not necessary that such evidence remove every
         reasonable hypothesis except that of guilt.

478 F.2d 1329, 1333 (6th Cir. 1973) (citations omitted) (quoted in United States v. Grubbs,

506 F.3d 434, 439 (6th Cir. 2007). “Proof that the person has dominion over the premises

where the firearm is located is sufficient to establish constructive possession.” United States

v. Kincaide, 145 F.3d 771, 782 (6th Cir. 1998) (citation and internal quotations omitted). But




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see United States v. Birmley, 529 F.2d 103, 108-09 (6th Cir. 1976) (noting that proximity to

the location where the gun is found alone is not enough to support possession).

       As noted by the government, the firearm was recovered from the master bedroom of

a residence that defendant shared with a co-defendant. Not only did the lease for that

residence bear defendant’s name, but the owner of the property also testified that checks for

payment of rent were received from defendant’s bank account. Finally, several witnesses

testified that defendant had personally provided firearms to them, that defendant shared the

bedroom in question with his co-defendant, and that they had observed the rifle in question

in the bedroom. A reasonable juror could therefore find that the government had proven the

second element beyond a reasonable doubt.

       Accordingly, based on the evidence presented by the prosecution and viewing such

evidence in a light most favorable to the prosecution, a reasonable jury could find that the

government proved beyond a reasonable doubt all three elements of the charge of being a

felon in possession.

       B.     Motion for New Trial

       Alternatively, defendant seeks a new trial on Count Five of the superseding

indictment, claiming his conviction was improperly procured. Rule 33 of the Federal Rules

of Criminal Procedure provides that, “Upon the defendant’s motion, the court may vacate any

judgment and grant a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a).




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              1.      The Court’s Charge to the Jury to Continue to Deliberate

       Defendant argues that Judge Phillips “erroneously charged the jury to continue to

deliberate after the jury had announced it was hopelessly deadlocked.” [Doc. 323 at 1.]

Citing the recent Supreme Court opinion in Snyder v. Louisiana, 128 S. Ct. 1203 (2008),1

defendant further argues that following the allegations of racism within the jury, Judge

Phillips had a duty to declare a mistrial immediately. [Doc. 323 at 1.] The government in

turn contends that defendant’s motion should be denied as untimely under Rule 33(b)(2) of

the Federal Rules of Criminal Procedure, and that in any event, defendant’s motion should

be denied under well-settled precedent governing supplemental jury instructions to

potentially deadlocked juries. [Doc. 347.]

       In giving the jury further guidance as to its deliberations, Judge Phillips utilized the

pattern jury instruction regarding a deadlocked jury approved by the Sixth Circuit. See Sixth

Circuit Pattern Jury Instructions: Criminal 9.04; see also United States v. Clinton, 338 F.3d

483, 488 (6th Cir. 2003) (stating a strong preference in the Sixth Circuit for use of this

pattern instruction when jury indicates potential deadlock). This charge is given in

accordance with the Supreme Court’s oft-cited opinion in Allen v. United States, 164 U.S.

492 (1896). In Allen, the Supreme Court approved the use of supplemental jury instructions



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         In his Motion for New Trial, defendant cites “Gonzales Lopez v. Louisiana decided by the
United State [sic] Supreme Court the week 07 March 14, 2008.” [Doc. 323 at 1.] The Court
interprets this as referring to Snyder v. Louisiana, 128 S. Ct. 1203 (2008), decided on March 19,
2008, as Snyder was the only case decided by the Court in March 2008 pertaining to juries and to
claims of improper racial bias.

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charging that jurors have “a duty to decide the case if they [can] conscientiously do so” and

that jurors may return to deliberate and “listen, with a disposition to be convinced, to each

other’s arguments,” questioning whether their dissenting opinion is truly based on a

reasonable doubt. Id. at 501. The Sixth Circuit has recognized that Allen and its progeny

“establish[] that a criminal defendant being tried by a jury is entitled to an uncoerced and

unanimous verdict of that body.” Clinton, 338 F.3d at 487. The pattern jury instruction

employed by Judge Phillips and preferred by the Sixth Circuit accomplishes this goal by

urging the jury to attempt to reach unanimity without unduly coercing them. Indeed, if after

a short time of deliberating a jury believes itself to be deadlocked, a court “incontestably

[has] the authority to insist that they deliberate further.” Lowenfield v. Phelps, 484 U.S. 231,

238 (1988). There was therefore no error in Judge Phillips instructing a jury that had only

been deliberating a short time to return and attempt to reach a unanimous agreement.

       Moreover, the court notes that defendant did not object to the use of the pattern Allen

charge despite being given the opportunity to do so. Consequently he waived any later

review of the use of the instruction, save for plain error. See Fed. R. Crim. Pro. 30(d); Fed.

R. Crim. Pro. 52(b). As discussed above, however, the use of the instruction given by Judge

Phillips is not only accepted, it is preferred, and there was therefore no error in having further

instructed the jury regarding potential deadlock.

       Finally, Judge Phillips had no duty to declare a mistrial when notified of potential

charges of racism within the jury room. As noted by the government, when first made aware

of these charges, Judge Phillips instructed the jury that race should have no bearing on the

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decision-making process and instructed the jury to continue deliberating. This adequately

guarded against any prejudice to the defendant. Further, as the Supreme Court opinion cited

by defendant applies to the voir dire process before the jury is empaneled and not to post-trial

jury deliberations, it has no bearing on this case. Cf. Snyder, 128 S. Ct. 1203 (holding that

the trial court committed clear error in overruling defendant’s objections to the prosecution’s

use of peremptory challenges due to improper racial bias at the voir dire stage). Defendant

has demonstrated no perceivable error in Judge Phillips’s actions following the charges of

racism.

              2.      Prosecutor’s Improper “Testimony” and References to Things Not
                      in Evidence

       Defendant objects to the prosecutor’s statement regarding the lack of fingerprints on

firearms retrieved from the house where defendant was arrested and his reference to a

telephone in the courtroom during his closing statement. Essentially, defendant is arguing

prosecutorial misconduct. In determining whether a new trial is warranted due to alleged

prosecutorial misconduct, the Court must look first to whether statements by the prosecutor

were improper and then determine whether the impropriety was flagrant. Cristini v. McKee,

526 F.3d 888, 899 (6th Cir. 2008) (quoting United States v. Carter, 236 F.3d 777, 783 (6th

Cir. 2001). In determining the nature of impropriety, the Court considers,

       (1) whether the conduct and remarks of the prosecutor tended to mislead the jury or
       prejudice the defendant; (2) whether the conduct or remarks were isolated or
       extensive; (3) whether the remarks were deliberately or accidentally made; and (4)
       whether the evidence against the defendant was strong.

Cristini, 526 F.3d at 889 (quoting Carter, 236 F.3d at 783).

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                        A.    Statement Regarding Fingerprints

       The first statement to which defendant objects occurred while defendant was cross-

examining Task Force Officer Jerry Orr (“TFO Orr”).                In response to defendant’s

questioning, TFO Orr stated that he did not know if any fingerprints were taken off the two

firearms found in the home where defendant was arrested. [Trial Tr. Day 1, 120, Feb. 27,

2008.] TFO Orr further stated that based upon the amount of time it took officers to execute

the search warrant, defendant would not have had time to wipe his fingerprints off of the two

firearms. [Trial Tr. Day 1, 122.] During a break in questioning, prosecutor David Jennings

interjected, “[C]an I state for the record that every firearm that will be introduced in this case

was fingerprinted, no latent fingerprints were found on any of them and a report to that effect

was sent to the defense in discovery months and months ago.” [Trial Tr. Day 1, 123.]

Though defendant did not object to the prosecutor’s statement at trial, he now argues that it

warrants a new trial.

       The Court cannot conclude that this statement was improper. The prosecutor made

the statement in order to save time during the pro se cross-examination in which defendant

was questioning the witness on a subject about which he had no knowledge.                    The

prosecutor’s statement did not limit defendant’s examination of the witness on the issue as

defendant had already moved on to another topic before the prosecutor made his comment.

       Additionally, the prosecutor’s statement likely did not prejudice the defendant, but

rather may have helped defendant. The prosecutor’s statement indicated that defendant’s

fingerprints were not found on any of the firearms offered into evidence at trial, the point it

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seems the defendant was trying to make during his cross-examination of the witness.

Accordingly, the Court does not finding any prosecutorial misconduct warranting a new trial

on the basis of the prosecutor’s statement about the lack of fingerprint evidence.

                     B.     Statement Regarding Telephone

       The second statement to which defendant objects is the prosecutor’s reference to a

phone in the courtroom. Defendant argues that in response to his assertion that the

government failed to introduce the cell phone allegedly used in the conspiracy, the prosecutor

pointed to a phone in the courtroom that had not been introduced into evidence and

improperly testified, “There lays the phone.”2       A review of the transcript with the

prosecutor’s statement in context reveals that he was not suggesting that the phone in the

courtroom was the phone used in the conspiracy. He stated,

               There lays a phone. Right there. What good does it do for you to look at that
       phone and know whether it is one of the people up here in the front of the courtroom
       that is on it, when it is being used. Nothing. Wouldn’t the best way to know whether
       it was Janet Jackson or Rachel Kiser using that phone when it’s being used is to listen
       to them? Of course.

             We don’t have the phone? Yes, we do. Bubba Poston told you we have the
       phone. No, it wasn’t found on his person. Why bring it in here and show it to you,
       when you have heard his voice on that phone for hours? The puppeteer is trying to
       manipulate you.

[Trial Tr. Opening and Closing Statements, 58, March 4, 2008.] The government states that

the prosecutor was referring to the landline telephone on the courtroom deputies’ desk. This

statement is supported by the fact that both Janet Jackson and Rachel Kiser, to whom the


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        The prosecutor actually said, “There lays a phone.”

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prosecutor referred, were both serving as courtroom deputies during the trial. Additionally,

the prosecutor admitted that the government had not presented the cell phone used in the

conspiracy. Accordingly, defendant’s argument that the prosecutor improperly introduced

the phone into evidence is without merit.

       3.     Improper Jury Argument by the Prosecutor

       Defendant moves for a new trial on the ground that the prosecutor essentially engaged

in name-calling when referring to defendant. Again the Court must consider whether

statements by the prosecutor were improper and then determine whether the impropriety was

flagrant. Cristini, 526 F.3d at 899 (quoting Carter, 236 F.3d at 783). The Court must do so

by considering:

       (1) whether the conduct and remarks of the prosecutor tended to mislead the jury or
       prejudice the defendant; (2) whether the conduct or remarks were isolated or
       extensive; (3) whether the remarks were deliberately or accidentally made; and (4)
       whether the evidence against the defendant was strong.

Cristini, 526 F.3d at 889 (quoting Carter, 236 F.3d at 783); see also Olsen v. McFaul, 843

F.2d 918, 929 (6th Cir. 1988). Any alleged improper remarks by the prosecutor must be

considered “within the context of the entire trial to determine whether [they] resulted in

prejudicial error.” Cristini, 526 F.3d at 901. Statements that are reasonable inferences drawn

from the evidence and defendant’s arguments are permissible. See Byrd v. Collins, 209 F.3d

486, 536 (6th Cir. 2000).

       In Olsen, the Sixth Circuit considered whether the prosecutor’s deliberate remarks

that repeatedly belittled the defendant by referring to him as a “deadbeat,” “thief,” “creep,”


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and “liar” were improper. 843 F.2d at 930. The court determined that the comments did not

deprive the defendant of the right to a fair trial because, “[w]hile not isolated, neither were

they pervasive, and they may even have tended to create sympathy, rather than scorn.” Id.;

see also Byrd, 209 F.3d at 536 (finding that calling the defendant a predator did not deprive

defendant of a fair trial).

       Here defendant complains of the prosecutor’s remarks that he was a “playboy,” a

“master manipulator,” and a “puppeteer trying to manipulate the jury.” He objects to the

prosecutor’s rhetorical question regarding why he did not work to earn a living. Defendant

further complains that the prosecutor referred to the work of officers protecting the public

and commented that it would not be a fair fight for officers if they encountered a defendant

with an assault rifle like the one found in this case. The prosecutor suggested that the

defendant was mocking the officers and sarcastically referred to defendant as a “brilliant,

smart, drug trafficker who thinks he is bullet proof.”

       Most of these comments were reasonable inferences drawn from the evidence and thus

were not improper. To the extent that they were improper, when viewed in light of the trial

as a whole, the comments are no more prejudicial to defendant in relation to the crimes

charged than the comments in Olsen that the defendant was a “deadbeat,” “thief,” “creep,”

and “liar” and Byrd that the defendant was a “predator.” Though the comments seem to have

been deliberate and not isolated, they were not extensive. Additionally, the evidence against

defendant was substantial. Accordingly, a new trial is not warranted on the basis of these

statements.

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III.   CONCLUSION

       In sum, defendant’s motions being untimely, there being sufficient evidence for a

reasonable jury to convict defendant of being a felon in possession of a firearm, there being

no error by Judge Phillips in giving the jury supplemental instructions after indications by

the jury of potential deadlock and racial bias, and there being no prosecutorial misconduct

or improper statements warranting a new trial, defendant’s Motion for Judgment of Acquittal

[Doc. 322], Motion for New Trial [Doc. 323], and Supplemental Motion for Judgment of

Acquittal or, in the Alternative, for New Trial [Doc. 374] are hereby DENIED.

       IT IS SO ORDERED.


                                          s/ Thomas A. Varlan
                                          UNITED STATES DISTRICT JUDGE




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